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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




UNITED STATES OF AMERICA
                                                                                     CRIMINAL
         V.                                                                          No. 19-64-6

JOHN DOUGHERTY, et al.




                                                ORDER

                                     1>
         AND NOW, this ..{, day of February, 2020, upon review of Defendant Niko

Rodriquez's unopposed Motion for Discovery Pursuant to Federal Rule of Criminal

Procedure 16 (ECF Docket No. 49) it is hereby ORDERED that the Motion is

GRANTED. 1



                                                                BY THE COURT:




1 See FED. R CRIM. P. 16; See also United States v. Maury, 695 F.3d 227, 248•49 (3d Cir. 2012) ("Rule 16
... requires that the government, '[u]pon a defendant's request,' allow the defendant access to certain
categories of information that the government has collected over the course of its investigation.").
